    Case 2:09-cr-00371-SSV-DEK            Document 82        Filed 04/14/11      Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 09-371

ABDEL RAHIM MUHAMMAD                                                SECTION “C” (3)


                                   ORDER AND REASONS

       Before the Court is Defendant, Debra Muhammad’s Motion to Sever. (Rec. Doc. 71). The

present motion is not opposed by Defendant Abdel Muhammad, (Rec. Doc. 75), but is opposed by

the Government, (Rec. Doc. 74). For the reasons set forth below, the motion is DENIED.



                                      I. BACKGROUND

       On January 7, 2011, Debra Muhammad and her husband, Abdel Muhammad, were charged

with conspiracy to commit bank robbery, bank robbery, and conspiracy to commit money

laundering; in addition Abdel Muhammad was charged with violating the Federal Gun Control Act.

(Rec. Doc. 48). A joint trial of both Defendants is currently scheduled for April 25, 2011. At that

trial the Government anticipates introducing private jail-cell conversations between Abdel

Muhammad and Clinton Rodriguez, during which Abdel Muhammad allegedly confessed to robbing

a Whitney Bank with the assistance of his wife, all as described in the Superseding Indictment.

(Rec. Doc. 74 at 4).

       In light of this proposed evidence, Debra Muhammad requests a severance of her trial from

that of her husband. (Rec. Doc. 71). Specifically, Debra Muhammad argues that the introduction


                                                1
     Case 2:09-cr-00371-SSV-DEK             Document 82       Filed 04/14/11      Page 2 of 6




of the proposed hearsay testimony would violate her Sixth Amendment rights as articulated in

Bruton v. United States, 391 U.S. 123 (1968). (Rec. Doc. 71-1 at 3). She also argues that she would

be prejudiced by a joint trial as it would permit the admission of hearsay testimony that would be

inadmissable against her at a severed trial. Id. at 4.



                                    II. LAW AND ANALYSIS

       A. Debra Muhammad’s Sixth Amendment Rights Will Not Be Violated by a Joint Trial.

       The Confrontation Clause of the Sixth Amendment guarantees the right of a criminal

defendant “to be confronted with the witnesses against him,” which includes the right to

cross-examine witnesses. Richardson v. Marsh, 481 U.S. 200, 206 (1987) (internal citations

omitted). “Therefore, where two defendants are tried jointly, the pretrial confession of one cannot

be admitted against the other unless the confessing defendant takes the stand.” Id. In Bruton v.

United States, 391 U.S. 123 (1968), the Supreme Court held that, in the context of a joint trial, the

Confrontation Clause prohibits the admission of a non-testifying defendant’s confession that

incriminates a co-defendant. 391 U.S. at 126. The Supreme Court further held that limiting

instructions to the jury could not remedy the substantial risk that the jury would consider the

incriminating hearsay statements in determining the guilt of the co-defendant implicated in another

defendant’s confession. Id. at 137.

       Debra Muhammad argues that pursuant to Bruton she is entitled to a separate trial because

Abdel Muhammad’s alleged confession inculpates her, and she would be unable to cross-examine

her husband at trial because he will not take the stand at a joint trial. (Rec. Doc. 71-1 at 3). The

Government responds by arguing that two recent Supreme Court cases have limited the application

of the Confrontation Clause to “testimonial” statements, which do not cover jail-cell conversations


                                                  2
     Case 2:09-cr-00371-SSV-DEK            Document 82          Filed 04/14/11   Page 3 of 6




between prisoners. (Rec. Doc. 74 at 5-6). As a result, the Government argues that in light of these

recent opinions, Debra Muhammad has no valid Bruton claim, as her husband’s confession to a cell

mate was not “testimonial” for purposes of the Sixth Amendment. Id. at 6.

       The first case the Government refers to is Crawford v. Washington, 541 U.S. 36 (2004).

(Rec. Doc. 74 at 4). In Crawford the Supreme Court examined the history surrounding the adoption

of the Sixth Amendment. 541 U.S. at 43-51. In light of that history, the Supreme Court held that

the word “witnesses” in the Sixth Amendment applies to “those who ‘bear testimony.’” Id. at 51

(quoting 2 N. Webster, An American Dictionary of the English Language (1828)). The Supreme

Court defined “testimony” as “‘[a] solemn declaration or affirmation made for the purpose of

establishing or proving some fact.’” Id. (quoting 2 N. Webster). While the Court did not provide

a precise account of which statements would be considered testimonial, and therefore covered by

the Confrontation Clause, it did state that “[a]n accuser who makes a formal statement to

government officers bears testimony in a sense that a person who makes a casual remark to an

acquaintance does not.” Id. Finally, in Crawford the Supreme Court held that the Confrontation

Clause of the Sixth Amendment imposed “an absolute bar to statements that are testimonial, absent

a prior opportunity to cross-examine.” Id. at 61.

       In Davis v. Washington, 547 U.S. 813 (2006), the Supreme Court extended its reasoning in

Crawford and held that the Confrontation Clause only applies to testimonial statements. 547 U.S.

at 821. Therefore, non-testimonial hearsay is not subject to the Confrontation Clause, but rather is

subject to “traditional limitations on hearsay evidence.” Id.

       In light of Crawford and Davis the Government argues that Bruton no longer applies to non-

testimonial hearsay, such as Abdel Muhammad’s jail-cell confession to a fellow prisoner. (Rec.

Doc. 74 at 4-6). The Government cites Ramirez v. Dretke, 398 F.3d 691, 695 n.3 (2005), for the


                                                 3
     Case 2:09-cr-00371-SSV-DEK            Document 82        Filed 04/14/11      Page 4 of 6




proposition that Abdel Muhammad’s spontaneous confession is non-testimonial. Id. at 8. However,

neither party in Ramirez contested whether the statements at issue in that case were testimonial. 398

F. 3d at 695 n.3. Moreover, as the Fifth Circuit noted in Ramirez “the full reach of Crawford’s

holding remains unclear.” Id. While the Government argues this Court should follow other courts

in finding that Crawford has limited Bruton to non-testimonial hearsay, the Fifth Circuit has yet to

reach such a conclusion. (Rec. Doc. 74 at 5-6). Finally, in Crawford the Supreme Court cited

Bruton approvingly and made no attempt to limit Bruton in the way that the Government proposes.

541 U.S. at 57. Therefore, in the absence of clear instructions from the Supreme Court or the Fifth

Circuit, this Court finds that Bruton has not been limited by Crawford.

       However, the Supreme Court has long held that “the Confrontation Clause is not violated

by the admission of a nontestifying codefendant's confession with a proper limiting instruction

when, as here, the confession is redacted to eliminate not only the defendant's name, but any

reference to his or her existence.” Richardson v. Marsh, 481 U.S. 200, 211 (1987). Because the

Government has proposed that it will redact any reference to Debra Muhammad from Abdel

Muhammad’s confession, (Rec. Doc. 74 at 14), then this Court finds that no severance of the joint

trial is required on Bruton grounds at this time.



       B. Debra Muhammad Does Not Meet the Standard for Severance under Rule 14(a).

       Debra Muhammad also argues that, pursuant to Rule 14(a) of the Federal Rule of Criminal

Procedure, she is entitled to a separate trial because she would be prejudiced by a joint trial as it

would permit the admission of evidence that would not otherwise be admissible at a severed trial.

(Rec. Doc. 71-1 at 4).

       Rule 8(b) of the Federal Rules of Criminal Procedure states that an “indictment or


                                                    4
     Case 2:09-cr-00371-SSV-DEK              Document 82        Filed 04/14/11       Page 5 of 6




information may charge two or more defendants if they are alleged to have participated in the same

act or transaction, or in the same series of acts or transactions, constituting an offense or offenses.”

F. R. Crim. P. 8(b). There is a preference in federal courts for joint trials of defendants who are

indicted together. Richardson v. Marsh, 481 U.S. 200, 209 (1987). Since Defendants do not argue

that they have been improperly joined under Rule 8(b), this Court will only grant a severance under

Rule 14 “if there is a serious risk that a joint trial would compromise a specific trial right of one of

the defendants, or prevent the jury from making a reliable judgment about guilt or innocence.”

Zafiro v. United States, 506 U.S. 534, 539 (1993).

       Debra Muhammad argues that according to Zafiro, evidence that is probative of a defendant's

guilt but technically admissible only against a co-defendant could present a risk of prejudice that

justifies the severance of a joint trial. (Rec. Doc. 71-1 at 5); Zafiro v. United States, 506 U.S. 534,

539 (1993) (citing Bruton v. United States, 391 U.S. 123(1968). However, as this Court mentioned,

the Government will redact all references to Debra Muhammad from Abdel Muhammad’s

confession. Therefore, Debra Muhammad will not be prejudiced by Abdel Muhammad’s confession

as it will not implicate her. Moreover, counsel may request limiting instructions consistent with

Richardson v. Marsh, 481 U.S. 200, 211 (1987).

       Finally, Debra Muhammad argues that pursuant to Byrd v. Wainwright, 428 F.2d 1017 (5th

Cir. 1970), she has a specific trial right to the exculpatory testimony of her husband, which she

would be denied in a joint trial. (Rec. Doc. 71-1 at 5). However, since she filed her motion, Abdel

Muhammad has indicated that he will refuse to testify at both his trial and his wife’s trial, whether

or not they are severed. (Rec. Doc. 80-2 at 2 n.1). Because her husband will not provide Debra

Muhammad with any exculpatory testimony even in a severed trial, this Court finds that she has not

met the required showing for a severance.


                                                   5
    Case 2:09-cr-00371-SSV-DEK           Document 82       Filed 04/14/11   Page 6 of 6




                                    III. CONCLUSION

       Accordingly,

       IT IS ORDERED that Defendant Debra Muhammad’s Motion to Sever is DENIED. (Rec.

Doc. 71).

       New Orleans, Louisiana, this 13th day of April, 2010.




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                                                   HELEN G. BERRIGAN
                                                   UNITED STATES DISTRICT JUDGE




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